Case 1:17-cv-00928-CPO-EAP Document 125-8 Filed 07/05/22 Page 1 of 3 PageID: 1264




                EXHIBIT “E”
Case 1:17-cv-00928-CPO-EAP Document 125-8 Filed 07/05/22 Page 2 of 3 PageID: 1265




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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

   ELAINE LEVINS and WILLIAM LEVINS,
   on behalf of themselves and others similarly
   situated,
                                 Plaintiffs,

                         vs.                              Case 1:17-cv-00928-RBK-KMW

   HEALTHCARE REVENUE RECOVERY
   GROUP, LLC d/b/a ARS ACCOUNT
   RESOLUTION SERVICES, and JOHN AND
   JANE DOES 1 THROUGH 25,
                                 Defendants.             PLAINTIFFS’ DISCLOSURES

         Plaintiffs, Elaine Levins and William Levins by and through counsel, in accordance with

  Fed.R.Civ.P. 26(1)(a), disclose:

  1. “the name and, if known, the address and telephone number of each individual likely to have
     discoverable information – along with the subjects of that information – that the disclosing
     party may use to support its claims or defenses, unless the use would be solely for
     impeachment”:

             Plaintiffs, who can be contacted through their counsel, have knowledge as to their
             receipt of the voice mail messages alleged in the Amended Complaint.

  2. “a copy – or a description by category and location – of all documents, electronically stored
     information, and tangible things that the disclosing party has in its possession, custody, or
     control and may use to support its claims or defenses, unless the use would be solely for
     impeachment”:

                 None.
Case 1:17-cv-00928-CPO-EAP Document 125-8 Filed 07/05/22 Page 3 of 3 PageID: 1266




  3. “a computation of each category of damages claimed by the disclosing party – who must also
     make available for inspection and copying as under Rule 34 the documents or other
     evidentiary material, unless privileged or protected from disclosure, on which each
     computation is based, including materials bearing on the nature and extent of injuries
     suffered”:

                 Plaintiff does not assert any actual damages. Plaintiff asserts a claim for statutory
                 damages in an amount as allowed by the Court pursuant to 15 U.S.C.
                 § 1692k(a)(2)(A). If this action is certified under Fed.R.Civ.P. 23, Plaintiff asserts
                 a claim for statutory damages on behalf of the certified class pursuant to 15
                 U.S.C. § 1692k(a)(2)(B).

  4. “for inspection and copying as under Rule 34, any insurance agreement under which an
     insurance business may be liable to satisfy all or part of a possible judgment in the action or
     to indemnify or reimburse for payments made to satisfy the judgment”:

                 None.

                                           STERN THOMASSON LLP
                                           Attorneys for Plaintiffs, Elaine Levins and William
                                           Levins
                                           By: s/Philip D. Stern
   Dated: December 16, 2018                                     Philip D. Stern
